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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
___________________________________
UNITED STATES                       )
                                    )
v.                                  )
                                    ) Criminal Case
1. MARCIO COSTA,                    ) 19-cr-10190-PBS
2. JOAO PEDRO MARQUES GAMA,         )
3. EDSON DASILVA,                   )
4. BRENO HENRIQUE DASILVA,          )
5. ALVARO DOS SANTOS MELO,          )
6. VINICIUS GONCALVES DE ASSIS      )
7. IGOR COSTA, and                  )
8. MATHEUS MACHADO                  )
___________________________________)

                         MEMORANDUM AND ORDER

                            August 26, 2020

Saris, D.J.

                             INTRODUCTION

     Matheus Marley Machado is one of eight defendants charged

in connection with the activities of Primeiro Comando da

Massachusetts (“PCM”). Count I of the indictment charges him

with a single count of RICO conspiracy. Machado moves to dismiss

the indictment on the ground that it does not provide sufficient

detail to allow him to defend. After hearing, the Court DENIES

the motion to dismiss.

                          FACTUAL BACKGROUND

     Count I of the indictment charges all eight defendants with

“Conspiracy to Conduct Enterprise Affairs Through a Pattern of

Racketeering Activity,” in violation of 18 U.S.C. § 1962(d).



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Dkt. 89 at 2. The RICO conspiracy count describes the

“enterprise” as PCM, “a criminal organization composed primarily

of Brazilian immigrants.” Id. The indictment specifies at least

eleven towns where PCM is active and alleges that it has

operated in Massachusetts since 2017. Id. It describes hand

signals and tattoos common to PCM members. Id. The alleged

purposes of PCM include “[e]nriching the leaders, members, and

associates . . . through drug trafficking, robbery, and the

illegal sale of firearms,” “[p]reserving, protecting, and

expanding the power of PCM through the use of robberies,

intimidation, violence, threats of violence, assaults, and

attempted murders,” “[p]romoting and enhancing PCM,” and

“[p]rotecting [members] from attacks by rival criminal

organizations.” Id. at 3-4.

     Count I alleges that the eight co-defendants “each agreed

that a conspirator would commit at least two acts of

racketeering activity in the conduct of the affairs of the

enterprise.” Dkt. 89 at 5. The indictment lists the predicate

offenses as acts involving drug trafficking, murder, and robbery

under specified state and federal statutes. Id. at 6.

     The other five counts of the indictment are for conspiracy

to commit robbery, Hobbs Act robbery, conspiracy to distribute

cocaine, dealing in firearms without a license, and alien in

possession. Id. at 1. Machado is not named in those counts.


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                                 LEGAL STANDARD

       “An indictment is sufficient ‘if it contains the elements

of the offense charged, fairly informs the defendant of the

charges against which he must defend, and enables him to enter a

plea without fear of double jeopardy.’” United States v.

Parigian, 824 F.3d 5, 9 (1st Cir. 2016) (quoting United States

v. Yefsky, 994 F.2d 885, 893 (1st Cir. 1993)).

                                     ANALYSIS

  I.        Parties’ Arguments

       Machado argues the indictment is insufficient because it

provides no details about the particular acts that he allegedly

agreed would be committed in furtherance of PCM’s purposes.1 He

continues that he could not have agreed to any of the predicate

acts separately charged because he was detained when those acts

were committed. The Government responds that it need only

“allege the defendants agreed to commit two types of crimes that

constitute the pattern of racketeering activity,” not particular

predicate acts. Dkt. 125 at 4.




       Machado originally argued that the indictment did not
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allege he personally agreed to commit two predicate acts,
relying on language in United States v. Ramirez-Rivera, 800 F.3d
1 (1st Cir. 2015). See Dkt. 115 at 5-6. Ramirez-Rivera is no
longer good law. See United States v. Leoner-Aguirre, 939 F.3d
310, 317 (1st Cir. 2019). The First Circuit has firmly
established that the Government does not need to prove a RICO
conspiracy defendant agreed to personally commit two predicate
acts. See id.


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  II.    Discussion

     The main elements of a substantive RICO charge are “(1) the

conduct (2) of an enterprise (3) through a pattern of

racketeering activity,” meaning the commission of two or more

“predicate acts.” Salinas v. United States, 522 U.S. 52, 62

(1997). On a RICO conspiracy count, as charged here, “the

government’s burden, as to the ‘pattern of racketeering

activity’ requirement . . ., is to prove that the defendant

agreed that at least two acts of racketeering would be committed

in furtherance of the conspiracy.” United States v. Leoner-

Aguirre, 939 F.3d 310, 317 (1st Cir. 2019). “[T]he government

does not need to prove that the defendant ‘himself commit[ted]

or agree[d] to commit the two or more predicate acts requisite

to the underlying offense.’” Id. (quoting Salinas, 522 U.S. at

65) (emphasis added).

     The Government asserts it is charging a “Glecier-format”

RICO conspiracy, relying on the Seventh Circuit’s decision in

United States v. Glecier, 923 F.2d 496 (7th Cir. 1991). In

Glecier, the defendant argued the RICO conspiracy indictment

against him was insufficient because it “fail[ed] to specify

individual predicate acts of racketeering,” in that case “the

specific bribes by date and/or case name” that Glecier was

alleged to have facilitated or taken as a trial lawyer and then

judge. Id. at 499. As to the elements of the offense, the


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Seventh Circuit held that a RICO conspiracy indictment “need

only charge -- after identifying a proper enterprise and the

defendant’s association with that enterprise -- that the

defendant knowingly joined a conspiracy the objective of which

was to operate that enterprise through an identified pattern of

racketeering activity (here, the ‘pattern’ being multiple acts

of bribery prohibited by specified provisions of the Illinois

criminal code).” Id. at 500. The court continued that “[n]either

overt acts nor specific predicate acts that the defendant agreed

personally to commit need be alleged or proved.” Id. (citations

omitted). The court noted that the indictment “specif[ied] the

time period during which the alleged conspiracy operated, the

locations and courts, the principal actors, and, with some

detail, the specific types of predicate crimes to be committed

and the modus operandi of the conspiracy.” Id. These details

both “adequately enabled Glecier to prepare a defense” and

“bar[red] any subsequent prosecution for RICO conspiracy during

the same time period and involving the same co-conspirators,

enterprise and racketeering activities.” Id.

     The First Circuit has not expressly followed the holding in

Glecier. However, the First Circuit has approved a jury

instruction that required the jury to “unanimously agree on

which type or types of racketeering activity that the defendant

agreed the enterprise would conduct -- for example, at least two


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acts of murder, at least two acts of robbery, or at least two

acts of narcotics trafficking, or all of them, or any

combination of them.” Leoner-Aguirre, 939 F.3d at 315.

Furthermore, several other circuits have adopted Glecier’s

holding. See, e.g., United States v. Cornell, 780 F.3d 616, 625

(4th Cir. 2015) (“[E]very circuit to have considered this issue

has concluded that for a RICO conspiracy charge the jury need

only be unanimous as to the types of racketeering acts that the

defendants agreed to commit.”); United States v. Applins, 637

F.3d 59, 81 (2d Cir. 2011) (“[A] RICO conspiracy charge need not

specify the predicate or racketeering acts that the defendants

agreed would be committed[.]” (citing Glecier)); United States

v. Randall, 661 F.3d 1291, 1299 (10th Cir. 2011) (“[F]or a

charge of RICO conspiracy, a jury need only be unanimous as to

the types of predicate racketeering acts that the defendant

agreed to commit, not to the specific predicate acts

themselves.” (citing Glecier)); United States v. Hein, 395 F.

App'x 652, 656 (11th Cir. 2010) (“[Defendants’] argument that

the jury had to unanimously agree on particular and individual

acts and not just the general types of predicate offenses is not

supported by the law[.]”).

     Based on this caselaw, the Court concludes that the

indictment here sufficiently details the “pattern of

racketeering” element because it specifies the types of


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predicate acts -- including the relevant code sections -- that

Machado is alleged to have agreed would be committed in

furtherance of the conspiracy. See Dkt. 89 at 6 (listing as

predicate acts “multiple offenses involving the trafficking of

controlled substances,” “multiple acts involving murder,”

“multiple acts involving robbery,” and “multiple acts indictable

under [federal code section] (relating to interference with

commerce, robbery, and extortion)”).

     The rest of Count I provides adequate detail about the

alleged conspiracy to “fairly inform[]” Machado of the charges

against him and “enable[] him to enter a plea without fear of

double jeopardy.” See Parigian, 824 F.3d at 9. While the

conspiracy here is wider-reaching than the bribery ring at issue

in Glecier, this indictment adequately details “the locations

[where the alleged conspiracy operated], the principal actors,

and, with some detail, the specific types of predicate crimes to

be committed and the modus operandi of the conspiracy.” See

Glecier, 923 F.2d at 500.

     Machado argues he could not have agreed to the predicate

acts separately charged in Counts II – V of the indictment

because he was detained on state charges and by ICE when those

events occurred from January to April 2019. While the other

counts may simultaneously be predicate acts for the RICO

conspiracy count, Count I stands alone. For example, Count I


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lists the “pattern of racketeering” as including “multiple acts

involving murder,” but there is no independent murder count. Dkt

89 at 6; cf. United States v. Yefsky, 994 F.2d 885, 894 (1st

Cir. 1993) (“[E]ach count [of an indictment] must be sufficient

without reference to other counts unless the allegations of

those counts expressly are incorporated.”) The RICO conspiracy

is alleged to have existed since 2017, leaving ample time for

Machado’s agreement to uncharged predicate acts of the types

listed in Count I prior to his state and ICE detention.

     Finally, this Court previously allowed in part Machado’s

motion for a bill of particulars. See Dkt. 212. Although “a bill

of particulars cannot save an invalid indictment,” Russell v.

United States, 369 U.S. 749, 770 (1962), the indictment here was

not invalid. In granting Machado’s bill of particulars, the

Court recognized that a broad-based RICO conspiracy indictment

may be sufficient to withstand a motion to dismiss and yet pose

a challenge for preparing a fulsome defense.

                                  ORDER

     For the reasons above, Machado’s motion to dismiss the

indictment against him is DENIED.



SO ORDERED.

                                  /s/ PATTI B. SARIS
                                  Hon. Patti B. Saris
                                  United States District Judge


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